            Case 1:24-cv-10761-ADB Document 1 Filed 03/25/24 Page 1 of 39




                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

 GERALD RABY, Individually and on behalf Case No:
 of all others similarly situated,
                                         CLASS ACTION COMPLAINT FOR
          Plaintiff,                     VIOLATIONS OF THE FEDERAL
                                         SECURITIES LAWS
          v.
                                         JURY TRIAL DEMANDED
 EVOLV TECHNOLOGIES HOLDINGS,
 INC. F/K/A NEWHOLD INVESTMENT
 CORP., PETER GEORGE, MARIO
 RAMOS, MARK DONOHUE, KEVIN
 CHARLTON, and ADAM DEUTSCH,

        Defendants.



       Plaintiff Gerald Raby (“Plaintiff”), individually and on behalf of all other persons

similarly situated, by Plaintiff’s undersigned attorneys, for Plaintiff’s complaint against

Defendants (defined below), alleges the following based upon personal knowledge as to

Plaintiff and Plaintiff’s own acts, and information and belief as to all other matters, based upon,

among other things, the investigation conducted by and through his attorneys, which included,

among other things, a review of the Defendants’ public documents, public filings, wire and

press releases published by and regarding Evolv Technologies Holdings, Inc. f/k/a NewHold

Investment Corp. (“Evolv” or the “Company”), and information readily obtainable on the

Internet. Plaintiff believes that substantial evidentiary support will exist for the allegations set

forth herein after a reasonable opportunity for discovery.

                                 NATURE OF THE ACTION

       1.       This is a class action on behalf of persons or entities who purchased or otherwise

acquired publicly traded Evolv securities between June 28, 2021 and March 13, 2024, inclusive



                                                 1
            Case 1:24-cv-10761-ADB Document 1 Filed 03/25/24 Page 2 of 39




(the “Class Period”). Plaintiff seeks to recover compensable damages caused by Defendants’

violations of the federal securities laws under the Securities Exchange Act of 1934 (the

“Exchange Act”).

                                JURISDICTION AND VENUE

       2.       The claims asserted herein arise under and pursuant to Sections 10(b) and 20(a)

of the Exchange Act (15 U.S.C. §§ 78j(b) and 78t(a)) and Rule 10b-5 promulgated thereunder

by the SEC (17 C.F.R. § 240.10b-5).

       3.       This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. § 1331, and Section 27 of the Exchange Act (15 U.S.C. §78aa).

       4.       Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b) and

Section 27 of the Exchange Act (15 U.S.C. § 78aa(c)) as the alleged misstatements entered and

the subsequent damages took place in this judicial district.

       5.       In connection with the acts, conduct and other wrongs alleged in this complaint,

Defendants (defined below), directly or indirectly, used the means and instrumentalities of

interstate commerce, including but not limited to, the United States mails, interstate telephone

communications and the facilities of the national securities exchange.

                                             PARTIES

       6.       Plaintiff, as set forth in the accompanying certification, incorporated by reference

herein, purchased Evolv securities during the Class Period and was economically damaged

thereby.

       7.       Defendant Evolv describes itself as a “leader in Artificial Intelligence (“AI”)-

based weapons detection for security screening. Our mission is to make the world a safer and

more enjoyable place to live, work, learn, and play. We are democratizing security by making it



                                                 2
            Case 1:24-cv-10761-ADB Document 1 Filed 03/25/24 Page 3 of 39




seamless for facility operators to address the chronic epidemic of escalating gun violence, mass

shootings and terrorist attacks in a cost-effective manner while improving the visitor

experience.”

       8.       Defendant Evolv is incorporated in Delaware and its head office is located at 500

Totten Pond Road, 4th Floor, Waltham, Massachusetts 02451.

       9.       Evolv’s common stock trades on the NASDAQ Exchange (“NASDAQ”) under

the ticker symbol “EVLV”. Evolv warrants trade on the NASDAQ under the ticker symbol

“EVLVW”.

       10.      On or around July 19, 2021, Evolv went public through a SPAC merger (the

“SPAC Merger”) with Newhold Investment Corp. (“Newhold”). For clarity, the Company prior

to the merger will be known as “Legacy Evolv”. Prior to the SPAC Merger, Newhold traded on

the NASDAQ under the ticker symbol “NHIC”.

       11.      Defendant Peter George (“George”) has served as the Company’s Chief

Executive Officer (“CEO”) and President since the SPAC Merger, and was previously the CEO

of Legacy Evolv. Defendant George also serves on the Board of Directors (the “Board”).

       12.      Defendant Mario Ramos (“Ramos”) served as the Company’s Chief Financial

Officer (“CFO”) and Chief Risk Officer from November 2021 through June 2022.

       13.      Defendant Mark Donohue (“Donohue”) has served as the Company’s CFO since
June 2022.
       14.      Defendant Kevin Charlton (“Charlton”) was the CEO of NewHold at the time of

the SPAC Merger. Defendant Charlton currently serves on Evolv’s Board.

       15.      Defendant Adam Deutsch (“Deutsch”) was the NewHold’s CFO at the time of
the SPAC Merger.




                                                3
         Case 1:24-cv-10761-ADB Document 1 Filed 03/25/24 Page 4 of 39




       16.     Defendants George, Ramos, Donohue, Charlton and Deutsch are collectively

referred to herein as the “Individual Defendants.”

       17.     Each of the Individual Defendants:

               (a)    directly participated in the management of the Company;

               (b)    was directly involved in the day-to-day operations of the Company at the

                      highest levels;

               (c)    was privy to confidential proprietary information concerning the

                      Company and its business and operations;

               (d)    was directly or indirectly involved in drafting, producing, reviewing

                      and/or disseminating the false and misleading statements and information

                      alleged herein;

               (e)    was directly or indirectly involved in the oversight or implementation of

                      the Company’s internal controls;

               (f)    was aware of or recklessly disregarded the fact that the false and

                      misleading statements were being issued concerning the Company;

                      and/or

               (g)    approved or ratified these statements in violation of the federal securities

                      laws.

       18.     Evolv is liable for the acts of the Individual Defendants and its employees under

the doctrine of respondeat superior and common law principles of agency because all of the

wrongful acts complained of herein were carried out within the scope of their employment.

       19.     The scienter of the Individual Defendants and other employees and agents of the

Company is similarly imputed to Evolv under respondeat superior and agency principles.



                                                4
         Case 1:24-cv-10761-ADB Document 1 Filed 03/25/24 Page 5 of 39




       20.     Defendant Evolv and the Individual Defendants are collectively referred to

herein as “Defendants.”

                               SUBSTANTIVE ALLEGATIONS

                               Materially False and Misleading
                          Statements Issued During the Class Period
       21.     On June 28, 2021, NewHold filed with the SEC its definitive proxy on SEC

Form 424B3 (the “Proxy”) to solicit votes for its July 15, 2021 Special Meeting to approve the

SPAC Merger with the then-private Legacy Evolv.

       22.     The Proxy contained the following statement:

       Evolv Technologies, Inc. [. . .] is the global leader in AI-based touchless security
       screening. Unlike conventional walk-through metal detectors, our products use
       advanced sensors, artificial intelligence software, and cloud services to reliably detect
       guns, improvised explosives, and large knives while ignoring harmless items like
       phones and keys. This not only enhances security at venues and facilities but also
       improves the visitor experience by making screening up to ten times faster than
       alternatives at up to 70% lower total cost.

       (Emphasis added).

       23.     The statement in ¶ 22 was materially false and misleading because Evolv does

not reliably detect knives or guns.

       24.     The Proxy contained the following statement:

       Our flagship product is Evolv Express®, a touchless security screening system designed
       to detect firearms, improvised explosive devices, and tactical knives as visitors walk
       through at a normal pace, individually or in groups, with no need to form into a single-
       file line.

       (Emphasis added).

       25.     The statement in ¶ 24 was materially false and misleading because it omitted that

Evolv Express does not reliably detect knives.




                                                 5
            Case 1:24-cv-10761-ADB Document 1 Filed 03/25/24 Page 6 of 39




          26.    On July 23, 2021, Defendant George made an appearance on Fox Business, in a

video entitled “Evolv Technologies uses AI powered security to detect weapons”, which was

posted on Fox Business’s website. In this interview, Defendant George made the following

statement:

          We have the signatures for all the weapons in the world [. . .] we’ve written the machine
          learning algorithms for all the guns, all the bombs, and all the large tactical knives in
          the world and our sensor system can identify those signatures quickly, send an alert, and
          will stop it before it gets into the venue.

          (Emphasis added).

          27.    The statement in ¶ 26 was materially false and misleading at the time it was made

because it overstated the capabilities of Evolv’s technology, particularly as it related to detecting

knives.

          28.    On March 23, 2022, Evolv posted a blog post entitled “NCS⁴ and Evolv

Express”, authored by Richard Abraham, the Company’s Senior Vice President of Technical

Sales and Solutions. This blog post stated, in pertinent part, the following:

          Key Findings:

          The operational exercise incorporated forty-one functional areas, with Express
          earning an overall composite score of 2.84. This score reflects that, on average, Express
          met the criteria established for this exercise. In fact, overall, Express performed very
          well. Scores in the categories evaluated during the exercise are presented below. It’s
          important to note that, as a practice, Evolv does not publicly share any details that could
          compromise our customer’s security process. Therefore, specific details such as actual
          weapon makes and models, images, etc. are not included here, but we do share this
          sensitive information with our customers privately in a responsible manner.




                                                  6
  Case 1:24-cv-10761-ADB Document 1 Filed 03/25/24 Page 7 of 39




                                      *        *       *
The fact is, technology, environmental conditions, architectural structures, conops, and
staff training are all important factors that affect screening effectiveness. It’s possible to
eliminate many or all of the problematic factors in a controlled environment. It’s not
possible to do that in a real-world environment, and that’s why I’m so proud of these
Express results from NCS⁴.

Authentic Evaluators:

Although NCS⁴ is part of the University of Southern Mississippi, their approach is
anything but academic. NCS⁴ recruits third party evaluators who are seasoned security
professionals and have been personally accountable for security screening. NCS⁴
selects new evaluators for each operational exercise, so they have a fresh perspective
and are looking at each solution in the context of the venue where it is being tested.

In the case of the Express exercise, the evaluators were a retired U.S. Secret Service
Special Agent in Charge, a Security Representative for an organization that produces
live events, and a Security Representative for professional baseball, soccer, and hockey.
Evolv didn’t get to pick these evaluators.

I truly believe that the Express evaluators are solid proxies for the typical Express buyer.
They had the same questions and “show me” attitude that we love to see in our
customers. I learned a lot from them and appreciated their suggestions for ways we can
both improve our product and better train our customers to get the best possible results.
We’re always learning and working to improve.


                                          7
          Case 1:24-cv-10761-ADB Document 1 Filed 03/25/24 Page 8 of 39




        29.     The statements contained in ¶ 28 were materially false and misleading at the time

they were made because blog post omitted that Evolv was heavily involved in the decision-

making and language of the final report issued by NCS⁴, and that the Company effectively

manipulated the testing so that it would score higher.

        30.     The March 23, 2022 blog post contained the following summary:

        Summary:

        We at Evolv Technology feel confident that these NCS⁴ results provide third party
        validation of what hundreds of customers and over 200 million visitors already know
        from their personal experience: that Express offers an unmatched combination of high-
        performance weapons detection, low false alarm rates, high throughput, unique
        operational insight, and an awesome visitor experience.

        I am really looking forward to working with our customers to sort through what the
        NCS⁴ evaluation findings could mean for their facilities. I also can’t wait to see how our
        future products perform in the NCS⁴ process. Having a trusted, fully independent third
        party available to stress test our product in real-world environment is an incredibly
        valuable asset. It will push us to always be doing more to make people safe, and that’s
        something I can always get excited about.

        (Emphasis added).

        31.     The statement in ¶ 30 was materially false and misleading at the time it was made

because it overstated the effectiveness of Evolv’s technology and falsely characterized NCS⁴’s

testing as “independent”, when in fact Evolv was able to give significant input on the final

report and results ostensibly issued by NCS⁴.

        32.     On March 28, 2022, the Company filed with the SEC its annual report on Form

10-K for the year ending December 31, 2021 (the “2021 Annual Report”). Attached to the 2021

Annual Report were certifications pursuant to the Sarbanes-Oxley Act of 2002 (“SOX”) signed

by Defendants George and Ramos attesting to the accuracy of financial reporting, the disclosure

of any material changes to the Company’s internal control over financial reporting, and the

disclosure of all fraud.

                                                8
         Case 1:24-cv-10761-ADB Document 1 Filed 03/25/24 Page 9 of 39




       33.     The 2021 Annual Report contained the following statement:
       Evolv Technologies Holdings, Inc. [. . .] is a global leader in Artificial Intelligence
       (“AI”) -based weapons detection for security screening. Our mission is to make the
       world a safer and more enjoyable place to work, learn, and play. We are democratizing
       security by making it seamless for facility operators to address the chronic epidemic of
       escalating gun violence, mass shootings and terrorist attacks in a cost-effective manner
       while improving the visitor experience.

       Unlike traditional walk-through metal detectors, our touchless security screening
       solutions use AI software, software as a service (“SaaS”) cloud services and advanced
       sensors to reliably detect dangerous weapons while significantly reducing nuisance
       alarms from harmless personal items. This means that visitors can walk through our
       solution without stopping, without removing items from their pockets or bags, and
       without having to form a single file line. Our products significantly reduce the number of
       false positive alarms, allowing security staff to focus their attention on high probability
       threats.

       (Emphasis added).

       34.     The statement in ¶ 33 was materially false and misleading at the time it was made

because it overstated Evolv’s capabilities.

       35.     The 2021 Annual Report contained the following statement about Evolv Express,

the Company’s flagship product:

       Our flagship product is Evolv Express, a touchless security screening system designed
       to quickly detect firearms, improvised explosive devices, and tactical knives in
       unstructured people flows. Evolv Express currently supports a maximum screening
       throughput of 3,600 people per hour. Evolv Express became commercially available in
       October 2019.

       (Emphasis added).

       36.     The statement in ¶ 35 was materially false and misleading at the time it was made

because it overstated Evolv Express’ capabilities, particularly regarding the detection of tactical

knives and firearms.

       37.     The 2021 Annual Report contained the following statement:

       We are a global leader in AI-based weapons detection for security screening. Unlike
       conventional walk-through metal detectors, our products use advanced sensors, artificial
       intelligence software, and cloud services to reliably detect guns, improvised explosives,

                                                9
         Case 1:24-cv-10761-ADB Document 1 Filed 03/25/24 Page 10 of 39




       and large knives while ignoring harmless items like phones and keys. This not only
       enhances security at venues and facilities but also improves the visitor experience by
       making screening up to ten times faster than alternatives at up to 70% lower total cost.

       (Emphasis added).

       38.     The statement in ¶ 37 was materially false and misleading at the time it was made

because it overstated Evolv’s capabilities, particularly regarding the detection of tactical knives

and guns.

       39.     The 2021 Annual Report contained the following risk disclosure:

       If our products fail or are perceived to fail to detect and prevent attacks or if our
       products fail to identify and respond to new and increasingly complex and
       unpredictable methods of attacks, our business and reputation may suffer. There is no
       guarantee that our products will detect and prevent all attacks, especially in light of the
       rapidly changing security landscape to which it must respond, as well as unique factors
       that may be present in our customers’ operating environments. Additionally, our
       products may falsely detect items that do not actually represent threats. These false
       positives may impair the perceived reliability of our products, and may therefore
       adversely impact market acceptance of our products, and could result in negative
       publicity, loss of customers and sales and increased costs to remedy any problem.

       Our products, which are complex, may also contain undetected errors or defects when
       first introduced or as new versions are released. We have experienced these errors or
       defects in the past in connection with new products and product upgrades. We expect
       that these errors or defects will be found from time to time in the future in new or
       enhanced products after commercial release. Defects may result in increased
       vulnerability to attacks, cause our products to fail to detect security threats, or
       temporarily interrupt our products’ ability to screen visitors in a customer’s location.
       Any errors, defects, disruptions in service or other performance problems with our
       products may damage our customers’ business and could harm our reputation. If our
       products fail to detect security threats for any reason, it may incur significant costs, the
       attention of our key personnel could be diverted, our customers may delay or withhold
       payment to us or elect not to renew or cause other significant customer relations
       problems to arise.

       We may also be subject to liability claims for damages related to errors or defects in
       our products. For example, if our products fail to detect weapons or explosive devices
       that are subsequently used by terrorists, criminals or unbalanced individuals to cause
       casualties at a high profile, public venue, our reputation could be significantly
       harmed. A material liability claim or other occurrence that harms our reputation or
       decreases market acceptance of our products may harm our business and operating
       results. Although we have limitation of liability provisions in our terms and conditions

                                                10
         Case 1:24-cv-10761-ADB Document 1 Filed 03/25/24 Page 11 of 39




       of sale, they may not fully or effectively protect us from claims as a result of federal,
       state, or local laws or ordinances, or unfavorable judicial decisions in the United States
       or other countries. The sale and support of our products also entails the risk of product
       liability claims. We maintain insurance to protect against certain claims associated with
       the use of our products, but our insurance coverage may not adequately cover any claim
       asserted against us. In addition, even claims that ultimately are unsuccessful could result
       in our expenditure of funds in litigation, divert or distract management’s time and other
       resources, and harm our business and reputation.

       (Emphasis added).

       40.     The statement contained in ¶ 39 was materially false and misleading at the time it

was made because it couched the failure of its products in hypothetical terms, when in reality

the Company knew that its products were ineffective at detecting weapons, including knives and

certain types of firearms. Further, the Company had taken significant action to make it appear

that its products were effective, including manipulating test results.

       41.     On March 24, 2023, the Company filed with the SEC its annual report on Form

10-K for the year ending December 31, 2022 (the “2022 Annual Report”). Attached to the 2021

Annual Report were certifications pursuant to SOX signed by Defendants George and Donohue

attesting to the accuracy of financial reporting, the disclosure of any material changes to the

Company’s internal control over financial reporting, and the disclosure of all fraud.

       42.     The 2022 Annual Report contained the following statement:

       Evolv Technologies Holdings, Inc. [. . .] is a global leader in Artificial Intelligence
       (“AI”)-based weapons detection for security screening. Our mission is to make the
       world a safer and more enjoyable place to live, work, learn, and play. We are
       democratizing security by making it seamless for facility operators to address the
       chronic epidemic of escalating gun violence, mass shootings and terrorist attacks in a
       cost-effective manner while improving the visitor experience.

       Unlike traditional walk-through metal detectors, our touchless security screening
       solutions use AI software, software-as-a-service (“SaaS”) cloud services, and advanced
       sensors to reliably detect weapons that could be a threat to a crowd of visitors while
       significantly reducing nuisance alarms from harmless personal items. This means that
       visitors can walk through our solution without stopping, without removing personal
       items from their pockets or bags, and without having to form a single file line. Our

                                                 11
         Case 1:24-cv-10761-ADB Document 1 Filed 03/25/24 Page 12 of 39




       products significantly reduce the number of false positive alarms, allowing security staff
       to focus their attention on high probability threats.

       (Emphasis added).

       43.     The statement in ¶ 42 was materially false and misleading at the time it was

made because it overstated Evolv’s capabilities.

       44.     The 2022 Annual Report contained the following statement about Evolv Express,

the Company’s flagship product:

       Our flagship product is Evolv Express, a touchless security screening system designed to
       quickly detect firearms, improvised explosive devices, and large tactical knives in
       unstructured people flows. Evolv Express currently supports a maximum screening
       throughput of 4,000 people per hour.

       (Emphasis added).

       45.     The statement in ¶ 44 was materially false and misleading at the time it was made

because it overstated Evolv Express’ capabilities, particularly regarding the detection of tactical

knives and firearms.

       46.     The 2022 Annual Report contained the following statement:

       We are a global leader in AI-based weapons detection for security screening. Unlike
       conventional walk-through metal detectors, our products use advanced sensors, artificial
       intelligence software, and cloud services to reliably detect guns, improvised explosives,
       and large knives while ignoring harmless items like phones and keys. This not only
       enhances security at venues and facilities but also improves the visitor experience by
       making screening up to ten times faster than alternatives at up to 70% lower total cost.

       (Emphasis added).

       47.     The statement in ¶ 46 was materially false and misleading at the time it was made

because it overstated Evolv’s capabilities, particularly regarding the detection of tactical knives

and guns.

       48.     The 2022 Annual Report contained the following risk disclosure:




                                                12
 Case 1:24-cv-10761-ADB Document 1 Filed 03/25/24 Page 13 of 39




If our products fail or are perceived to fail to detect and prevent attacks or if our
products fail to identify and respond to new and increasingly complex and
unpredictable methods of attacks, our business and reputation may suffer. There is no
guarantee that our products will detect and prevent all attacks, especially in light of the
rapidly changing security landscape to which it must respond, as well as unique factors
that may be present in our customers’ operating environments. Additionally, our
products may falsely detect items that do not actually represent threats. These false
positives may impair the perceived reliability of our products, and may therefore
adversely impact market acceptance of our products, and could result in negative
publicity, loss of customers and sales and increased costs to remedy any problem.

Our products, which are complex, may also contain undetected errors or defects when
first introduced or as new versions are released. We have experienced these errors or
defects in the past in connection with new products and product upgrades. We expect
that these errors or defects will be found from time to time in the future in new or
enhanced products after commercial release. Defects may result in increased
vulnerability to attacks, cause our products to fail to detect security threats, or
temporarily interrupt our products’ ability to screen visitors in a customer’s location.
Any errors, defects, disruptions in service or other performance problems with our
products may damage our customers’ business and could harm our reputation. If our
products fail to detect security threats for any reason, including failures due to customer
personnel or security processes, it may result in significant costs, the attention of our key
personnel could be diverted, our customers may delay or withhold payment to us or elect
not to renew or cause other significant customer relations problems to arise.

We may also be subject to liability claims for damages related to errors or defects in
our products. For example, if our products fail to detect weapons or explosive devices
that are subsequently used by terrorists, criminals or unbalanced individuals to cause
casualties at a high profile, public venue, we could incur financial damages and our
reputation could also be significantly harmed. A material liability claim or other
occurrence that harms our reputation or decreases market acceptance of our products
may harm our business and operating results. Although we have limitation of liability
provisions in our terms and conditions of sale, they may not fully or effectively protect
us from claims as a result of federal, state, or local laws or ordinances, or unfavorable
judicial decisions in the United States or other countries. The sale and support of our
products also entails the risk of product liability claims. We maintain insurance to
protect against certain claims associated with the use of our products, but our insurance
coverage may not adequately cover any claim asserted against us. In addition, even
claims that ultimately are unsuccessful could result in our expenditure of funds in
litigation, divert or distract management’s time and other resources, and harm our
business and reputation.

(Emphasis added).




                                         13
         Case 1:24-cv-10761-ADB Document 1 Filed 03/25/24 Page 14 of 39




       49.       The statement contained in ¶ 48 was materially false and misleading at the time it

was made because it couched the failure of its products in hypothetical terms, when in reality

the Company knew that its products were ineffective at detecting weapons, including knives and

certain types of firearms. Further, the Company had taken significant action to make it appear

that its products were effective, including manipulating test results.

       50.       On February 20, 2024, the Company posted a press release on its website entitled

“Evolv Technologies Corrects Misinformation about the Company.” This press release

contained the following statement:

       Fact: Evolv undergoes rigorous internal and external testing and validation
       procedures that are implemented before, during, and after the procurement
       process. All of these third-party tests, conducted by third-party experts, concluded
       that the Evolv Express solution was highly effective at detecting firearms and many
       other types of weapons.

       Examples of Third-Party Testing (since 2022):

                                            *      *      *
             •   NPSA, the National Protective Security Authority (UK), formerly known as the
                 CPNI

       51.       The statement in ¶ 50 was materially false and misleading because the UK

Government's National Protective Security Authority (NPSA) does not even perform the type of

testing discussed by Evolv in the February 20, 2024 press release.

       52.       Later, the Company updated the statement identified in in ¶ 50 to instead say that

“Metrix NDT Ltd commissioned by Evolv, tested and validated Evolv Express® against the

NPSA's Discriminative Metal Detection Standards”.

       53.       The statement in ¶ 52 was still materially false and misleading, even after the

update to the language posted on Evolv’s website, because Metrix NDT Ltd did not “validate”

Evolv Express.



                                                 14
         Case 1:24-cv-10761-ADB Document 1 Filed 03/25/24 Page 15 of 39




       54.     On February 29, 2024, the Company filed with the SEC its annual report on

Form 10-K for the year ending December 31, 2023 (the “2023 Annual Report”). Attached to the

2021 Annual Report were certifications pursuant to SOX signed by Defendants George and

Donohue attesting to the accuracy of financial reporting, the disclosure of any material changes

to the Company’s internal control over financial reporting, and the disclosure of all fraud.

       55.     The 2023 Annual Report contained the following statement:

       Evolv Technologies Holdings, Inc. [. . .] is a leader in Artificial Intelligence (“AI”)-
       based weapons detection for security screening. Our mission is to make the world a
       safer and more enjoyable place to live, work, learn, and play. We are democratizing
       security by making it seamless for facility operators to address the chronic epidemic of
       escalating gun violence, mass shootings and terrorist attacks in a cost-effective manner
       while improving the visitor experience.

       Unlike traditional walk-through metal detectors, our touchless security screening
       solutions use AI software, software-as-a-service (“SaaS”) cloud services, and advanced
       sensors to reliably detect weapons that could be a threat to a crowd of visitors while
       significantly reducing nuisance alarms from harmless personal items. This means that
       most visitors can walk through our solution without stopping, without removing personal
       items from their pockets or bags, and without having to form a single file line. Our
       products significantly reduce the number of false positive alarms, allowing security staff
       to focus their attention on high probability threats.

       (Emphasis added).

       56.     The statement in ¶ 55 was materially false and misleading at the time it was made

because it overstated Evolv’s capabilities.

       57.     The 2023 Annual Report contained the following statement about Evolv Express,

the Company’s flagship product:

       Our flagship product is Evolv Express, a touchless security screening system designed to
       quickly detect firearms, improvised explosive devices, and large tactical knives in
       unstructured people flows. Evolv Express currently supports a maximum screening
       throughput of approximately 4,000 people per hour.




                                                15
         Case 1:24-cv-10761-ADB Document 1 Filed 03/25/24 Page 16 of 39




       58.     The statement in ¶ 57 was materially false and misleading at the time it was made

because it overstated Evolv Express’ capabilities, particularly regarding the detection of tactical

knives and firearms.

       59.     The 2023 Annual Report contained the following statement:

       We are a leader in AI-based weapons detection for security screening. Unlike
       conventional walk-through metal detectors, our products use advanced sensors, artificial
       intelligence software, and cloud services to reliably detect guns, improvised explosives,
       and large knives while ignoring harmless items like phones and keys. This not only
       enhances security at venues and facilities but also improves the visitor experience by
       making screening up to ten times faster than alternatives at up to 70% lower total cost.

       (Emphasis added).

       60.     The statement in ¶ 59 was materially false and misleading at the time it was made

because it overstated Evolv’s capabilities, particularly regarding the detection of tactical knives

and guns.

       61.     The 2023 Annual Report contained the following risk disclosure:

       If our products fail or are perceived to fail to detect and prevent attacks or if our
       products fail to identify and respond to new and increasingly complex and
       unpredictable methods of attacks, our business and reputation may suffer. There is no
       guarantee that our products will detect and prevent all attacks, especially in light of the
       rapidly changing security landscape to which it must respond, as well as unique factors
       that may be present in our customers’ operating environments. Additionally, our
       products may falsely detect items that do not actually represent threats. These false
       positives may impair the perceived reliability of our products and may therefore
       adversely impact market acceptance of our products, which could, in turn, result in
       negative publicity, loss of customers and sales, and increased costs to remedy any
       problem.

       Our products, which are complex, may also contain undetected errors or defects when
       first introduced or as new versions are released. We have experienced these errors or
       defects in the past in connection with new products and product upgrades. We expect
       that these errors or defects will be found from time to time in the future in new or
       enhanced products after commercial release. Defects may result in increased
       vulnerability to attacks, cause our products to fail to detect security threats, or
       temporarily interrupt our products’ ability to screen visitors in a customer’s location.
       Any errors, defects, disruptions in service or other performance problems with our
       products may damage our customers’ business and could harm our reputation. If our

                                                16
         Case 1:24-cv-10761-ADB Document 1 Filed 03/25/24 Page 17 of 39




       products fail to detect security threats for any reason, including failures due to customer
       personnel or security processes, it may result in significant costs, the attention of our key
       personnel could be diverted, our customers may delay or withhold payment to us or elect
       not to renew or cause other significant customer relations problems to arise.

       We may also be subject to liability claims for damages related to errors or defects in
       our products. For example, if our products fail to detect weapons or explosive devices
       that are subsequently used by terrorists, criminals, or unbalanced individuals to cause
       casualties at a high profile, public venue, we could incur financial damages and our
       reputation could also be significantly harmed. A material liability claim or other
       occurrence that harms our reputation or decreases market acceptance of our products
       may harm our business and operating results. Although we have limitation of liability
       provisions in our terms and conditions of sale, they may not fully or effectively protect
       us from claims as a result of federal, state, or local laws or ordinances, or unfavorable
       judicial decisions in the United States or other countries. The sale and support of our
       products also entails the risk of product liability claims. We maintain insurance to
       protect against certain claims associated with the use of our products, but our insurance
       coverage may not adequately cover any claim asserted against us. In addition, even
       claims that ultimately are unsuccessful could result in our expenditure of funds in
       litigation, divert or distract management’s time and other resources, and harm our
       business and reputation.

       (Emphasis added).

       62.     The statement contained in ¶ 61 was materially false and misleading at the time it

was made because it couched the failure of its products in hypothetical terms, when in reality

the Company knew that its products were ineffective at detecting weapons, including knives and

certain types of firearms. Further, the Company had taken significant action to make it appear

that its products were effective, including manipulating test results.

       63.     The statements contained in ¶¶ 22, 24, 26, 28, 30, 33, 35, 37, 39, 42, 44, 46, 48,

50, 52, 55, 57, and 59 were materially false and/or misleading because they misrepresented and

failed to disclose the following adverse facts pertaining to the Company’s business, operations

and prospects, which were known to Defendants or recklessly disregarded by them. Specifically,

Defendants made false and/or misleading statements and/or failed to disclose that: (1) Evolv

materially overstated the efficacy of its products; (2) the lack of effectiveness of Evolv’s



                                                 17
         Case 1:24-cv-10761-ADB Document 1 Filed 03/25/24 Page 18 of 39




products with regard to detecting knives and guns led to an increased risk of undetected

weapons entering locations such as schools; (3) Evolv deceived the general public, its

customers, and its investors regarding the effectiveness of its products; and (4) as a result,

Defendants’ statements about its business, operations, and prospects, were materially false and

misleading and/or lacked a reasonable basis at all relevant times.

                            THE TRUTH BEGINS TO EMERGE

       64.     On November 2, 2022, before market hours, IPVM, which describes itself as the

“world’s leading authority on physical security technology”, released a report entitled “BBC

Exposes Evolv with IPVM Research.” (the “IPVM Report”).

       65.     The IPVM Report stated that “A BBC special report based on 1,000+ pages of

documents obtained by IPVM has exposed security screening manufacturer Evolv for

deceptive marketing and colluding with NCS4, a public entity, to hide test results showing

failures at weapons screening.” (Emphasis added).

       66.     The IPVM Report then stated the following about The National Center for

Spectator Sports Safety and Security (“NCS⁴”):

       The National Center for Spectator Sports Safety and Security (NCS⁴), part of the
       University of Southern Mississippi, offers an "operational exercise" program "for the
       purposes of demonstrating advertised capabilities, industry best practices, and operational
       capacity to address gaps in sports safety and security." These occur at real public events,
       with experts invited to act as "independent evaluators."

       Results are then published in "a white paper that will be distributed to venue managers
       and operators for the purposes of education and as an aid in the procurement decision-
       making process."

                                             *        *     *

       While NCS⁴’s public report on Evolv Express shows a seemingly-strong score of
       2.84/3.00, the hidden private version (that IPVM obtained) tells a much different story
       including several failures that conflict with Evolv's public marketing. NCS⁴'s heavily-
       redacted public report withheld detailed test results, evaluator comments, and other

                                                 18
        Case 1:24-cv-10761-ADB Document 1 Filed 03/25/24 Page 19 of 39




       information, only providing overall averages that are favorable to Evolv.

       Evolv publicized the report as "validation" from a "fully independent third party," but
       emails show Evolv forced NCS⁴ to redact the public report, and that Evolv executives
       heavily influenced the design of testing criteria and directly edited the report in
       numerous rounds of drafts, even asking for certain results to be removed.

       (Emphasis added).

       67.    The IPVM Report contained the following image, showing an email between

Richard (“Rick”) Abraham and NCS⁴, where he stated that the NCS4 report would need to be

reviewed by Evolv, showing that NCS⁴ was not independent, as Evolv had publicly represented:




       68.    The IPVM Report further showed the following image, showing the extent of

Rick Abraham’s edits:




                                              19
        Case 1:24-cv-10761-ADB Document 1 Filed 03/25/24 Page 20 of 39




       69.    The IPVM Report further revealed that Evolv’s technology is inadequate when it

comes to detecting small, micro-compact pistols, as compared to a conventional metal detector:

       The full, unredacted NCS⁴ white paper reveals that Evolv failed to meet testing criteria
       for detection of micro-compact pistols, with only a 92% detection rate, whereas a
       conventional metal detector would alert on this pistol virtually 100% of the time. Such
       firearms are increasingly popular according to industry data, representing 25% of 9mm
       handgun sales.

       (Emphasis added).

       70.    The IPVM Report contained the following image from the unredacted NCS⁴

paper, showing Evolv Express’s deficiencies with detecting small handguns.




       71.    The IPVM Report then stated that “[t]he evaluator noted without further

explanation that ‘[t]he system had a 100% detection rate prior to adding additional rigors,’

                                              20
         Case 1:24-cv-10761-ADB Document 1 Filed 03/25/24 Page 21 of 39




indicating the actual detection rate with ‘additional rigors’ was lower than 92%.” Further, the

IPVM Report stated that “[a]ll the results for micro-compact pistols were deleted from the

public report.” (Emphasis added).

       72.     Regarding knives, the IPVM Report stated the following, and included the

following images from the confidential, internal report, documenting Evolv Express’s poor

capabilities with regard to detecting knives:

       Evolv struggled with knives the most, prompting concern from evaluators. Again, these
       results and comments were deleted from the public report.

       Testing revealed that "the [Evolv Express] system was incapable of detecting every
       knife," despite conducting tests at one of the highest sensitivity settings for the device.
       With a score of 1.3 out of 3.0 for this category, Evolv detected some knives at a rate of
       0% with a 53% rate overall.




       Results were so poor that evaluators said they "Recommend full-transparency to
       potential customers based on data collected." In a separate section of the report
       dedicated to evaluator feedback, multiple evaluators called knife detection "not
       consistent" and "unreliable".

       While the requirements for knife testing in the final version only mention blades longer
       than 5", test images show knives with varying blades including some that seem shorter
       than 5":




                                                21
        Case 1:24-cv-10761-ADB Document 1 Filed 03/25/24 Page 22 of 39




       (Emphasis added).

       73.    Further, the IPVM Report stated that “[i]n earlier drafts, specifications for knife

testing read "knives with blades that ranged from under four inches to greater than six inches."

After testing, this was changed to simply read "knives", as shown below[.]” It then showed the

following image from two different NCS4 Report drafts, attesting to this observation:




                                              22
         Case 1:24-cv-10761-ADB Document 1 Filed 03/25/24 Page 23 of 39




       74.     The IPVM Report then stated, “[t]he wording of this requirement raises questions,

as it differs from past NCS⁴ language. While NCS⁴ requirements for object detection are

typically quantitative (e.g. the system will detect X at a rate of Y% or greater) the language for

Evolv has no quantitative requirement[.]”

       75.     Also on November 2, 2022, BBC released an article entitled “Manchester Arena’s

weapon scanning tech questioned”, which revealed documents shared with the BBC by IPVM,

which describes itself as the “world’s leading authority on physical security technology”.

       76.     This article in part stated the following:

       Some of the world’s biggest venues, including Manchester Arena, are using weapons
       scanners “incapable” of detecting some large knives.”

       Evolv, a US-based company that sells artificial-intelligence (AI) scanners, claims they
       can detect all weapons.

                                                 23
        Case 1:24-cv-10761-ADB Document 1 Filed 03/25/24 Page 24 of 39




       But documents shared with BBC News by research firm IPVM suggest they may fail to
       detect certain types of knives, as well as some bombs and components.

                                          *      *     *
       AI and machine learning enable the scanners to create unique “signatures” of weapons
       that differentiate them from items such as computers or keys, Evolv says, reducing
       manual checks and preventing long queues.

       “Metallic composition, shape, fragmentation – we have tens of thousands of these
       signatures, for all the weapons that are out there,” chief executive Peter George said last
       year, “all the guns, all the bombs and all the large tactical knives.”

       (Emphasis added).

       77.     The article then noted that doubts had been raised about claims such as those

made by Peter George, such as the one contained in ¶ 76:

       For several years, independent security experts have expressed doubts about some of
       Evolv’s claims.

       The company has previously refused to let IPVM test its technology, Evolv Express.

       But last year, it gave permission to the National Center for Spectator Sports Safety and
       Security (NCS4).

       NCS4’s public report, published earlier this year, gave Evolv a score of 2.84 out of three
       – many types of guns were detected 100% of the time.

       But is also produced a private report, obtained via a Freedom of Information request by
       IPVM and shared with BBC News along with emails between Evolv and NCS4.

       And it gave Evolv’s ability to detect large knives a score of just 1.3 out of 3.

       In 24 walkthroughs Evolv Express failed to detect large knives 42% of the time.

       “The system was incapable of detecting every knife on the sensitivity level observed
       during the exercise,” the report says.

       “Recommend full transparency to potential customers, based on data collected.”

       IPVM’s Conor Healy said: “For certain categories of knives, the system didn't detect
       them at all when they were brought through. And that completely conflicts with what
       Evolv has told the public."



                                                24
         Case 1:24-cv-10761-ADB Document 1 Filed 03/25/24 Page 25 of 39




        (Emphasis added).

        78.    The BBC was concerned enough about reporting on Evolv that it stated that “for

security reasons, BBC News is reporting no further details about the documents’ suggestion it

may also fail to detect certain types of bombs and their components.” (Emphasis added).

        79.    The BBC article further revealed that NCS4’s report had been manipulated by

Evolv employees. The article contained the following image showing that Evolv employees had

made tracked changes to the report to delete certain sections, consistent with emails obtained by

IPVM:




        80.    The BBC article then stated that “[i]n one version [of the report], dated 19

January, the conclusion ‘knives were not consistently detected’ was deleted.” Further, the BBC

article stated that “[a]n Evolv employee using ‘track changes’ also deleted a reference to the

system being ‘incapable of detecting every knife’ and one to the 1.3 score.” (Emphasis added).

        81.    On this news, the price of Evolv stock fell by $0.08, or 2.73% to close at $2.85

on November 2, 2022. The next day, it fell a further $0.16, or 5.6%, to close at $2.69.

                                               25
         Case 1:24-cv-10761-ADB Document 1 Filed 03/25/24 Page 26 of 39




       82.     Then, on May 23, 2023, BBC News published an article entitled “AI scanner

used in hundreds of US schools misses knives.” (the “May 23 BBC Article”).

       83.     The May 23 BBC Article stated that “[a] security firm that sells AI weapons

scanners to schools is facing fresh questions about its technology after a student was attacked

with a knife that the $3.7 [million] system failed to detect.” (Emphasis added).

       84.     The May 23 BBC Article stated that the victim of this attack, a student named

Ehni Ler Htoo, was “walking in the corridor of his school in Utica, New York, when another

student walked up behind him and stabbed him with a knife.” Htoo’s lawyer told the BBC that

he suffered “multiple stab wounds to the head, neck, face, shoulder, back and hand.”

(Emphasis added).

       85.     The May 23 BBC Article stated that “[t]he knife used in the attack was brought

into Proctor High School despite a multimillion [dollar] weapons detection system installed by

a company called Evolv Technology.” (Emphasis added).

       86.     The May 23 BBC Article stated the following:

       On 31 October, CCTV captured the perpetrator of the attack against Ehni Ler Htoo
       entering Proctor High School and passing through the Evolv weapons scanners,
       according to one source at the school who has seen the security footage.

       “When we viewed the horrific video, we all asked the same question. How did the
       student get the knife into the school?” said Brian Nolan, Superintendent of Utica
       Schools.

       The Knife used in the stabbing was more than 9 [inches, 22.8cm] long.

       (Emphasis added).

       87.     The May 23 BBC Article provided the following image of the knife used in the

attack, confirming its large size:




                                               26
 Case 1:24-cv-10761-ADB Document 1 Filed 03/25/24 Page 27 of 39




88.    The May 23 BBC Article further stated:

The attack triggered an internal investigation by Utica’s school district.

“Through investigation it was determined the Evolv Weapon Detection system… was
not designed to detect knives,” [Mr.] Nolan said.

The scanners were removed from Proctor High School and replaced by 10 metal
detectors. But the scanners are still operating in the district’s remaining 12 schools.
[Mr.] Nolan says the district cannot afford to get rid of Evolv’s system in its remaining
schools.

Since that attack, [Mr.] Nolan says three other knives have been found on students in
other schools in the district where the Evolv systems continue to operate.

One of the knives was 7 [inches] long. Another was a curved blade with finger holes.
Another was a pocket knife. [Mr.] Nolan says they were all found because they were
reported to staff – not because the weapons scanner had detected them.

“The kids [who had the knives] all said they walked right through the weapons
detection system, we asked them about that… it truly, truly does not find knives,” he
said.

(Emphasis added).

89.    The May 23 BBC Article then stated the following:

Evolv claims its system uses cutting-edge AI technology to find weapons. However, its
critics say not enough is known about how the system works - or how effective this
technology is at finding different types of weapons.


                                         27
        Case 1:24-cv-10761-ADB Document 1 Filed 03/25/24 Page 28 of 39




       The BBC sent a detailed right of reply to Evolv, laying out what had happened at the
       school in Utica, and the decision of the school to stop using its system.

       We also asked what Evolv had told schools about what its system could and could not
       detect, whether it had told schools that independent testing had found its systems could
       not reliably detect large knives, and whether it thought its systems were suitable for use
       in schools. Evolv did not answer the questions.

       Conor Healy of IPVM, a firm that analyses security equipment, says Evolv has
       exaggerated how effective the system is.

       "There's an epidemic of schools buying new technology based on audacious
       marketing claims, then finding out it has hidden flaws, often millions of dollars later.
       Evolv is one of the worst offenders. School officials are not technical experts on
       weapons detection, and companies like Evolv profit from their ignorance."

       Playing fast and loose with marketing claims is unacceptable when you sell a security
       product used to protect young people, he added.

       (Emphasis added).

       90.    On this news, the price of Evolv stock fell by $0.45, or 7.56%, to close at $5.50

on May 23, 2023.

       91.    On October 12, 2023, before the market opened, Evolv filed with the SEC a

Current Report on Form 8-K. In this current report, the Company announced the following:

       On October 12, 2023, the Company announced that the U.S. Federal Trade
       Commission had requested information about certain aspects of its marketing
       practices and we are pleased to answer their questions, as well as educate them about
       our mission to make communities safer and more secure. Like many companies, when
       Evolv receives inquiries from regulators, our approach is to be cooperative and educate
       them about our company. The Company stands behind its technology’s capabilities and
       performance track record, and is proud to partner with hundreds of security professionals
       to add a layer of advanced technology to their safety plan.

       (Emphasis added).

       92.    On this news, the price of Evolv stock fell $0.58 per share, or 13.33%, to close at

$3.77 on October 12, 2023.




                                              28
        Case 1:24-cv-10761-ADB Document 1 Filed 03/25/24 Page 29 of 39




       93.    On October 25, 2023, during market hours, IPVM released an article entitled

“Why We Believe Evolv Express Is Not Actually Intelligent” (the “October 2023 IPVM

Article”). The October 2023 IPVM Article stated, in part, the following:

       While Evolv prominently markets "AI" (Artificial Intelligence), we do not believe Evolv
       Express is actually intelligent because it struggles to differentiate small knives from
       cell phones and guns from laptops, capabilities that we believe are basic to being an
       "intelligent" weapons detector.

                                           *       *      *
       Evolv routinely disparages its “metal detector” competitors, but Evolv’s newest setting,
       released to deal with the problem of false alarms detecting knives as cell phones,
       shows how it has deceived the public and competes unfairly against rivals, causing
       public schools to spend far more on its systems than rivals.

       Fundamental Problems

                                            *     *      *
       Evolv was able to hide this problem until multiple stabbings at Evolv sites and IPVM
       disclosed NCS4 test results. Afterward, Evolv released new higher sensitivity modes
       (similar to metal detectors) that reduced missing knives but increased false alarms on
       phones.

       This creates an unintelligent combination where Evolv's sensitivity slider on lower
       settings correctly alarms on guns but falsely on many laptops, plus missing smaller
       knives, while at higher settings, it starts falsely alarming on many cell phones[.]

                                            *        *     *

       Whatever "AI" Evolv claims, the real-world practical result is that it is not actually
       intelligent, just like its far lower-cost competitors who have and admit these same issues.

       Evolv has fought, for years, to hide these very fundamental facts, claiming that
       publicizing such information, rather than the fundamental flaws of the product Evolv
       sells, would harm the public.

       Evolv Assured Opposite

       Evolv assured the public and its investors for years that it could solve these fundamental
       problems of metal detectors.
                                           *       *       *
       Tuning Tradeoff, Not Actual Intelligence




                                                29
         Case 1:24-cv-10761-ADB Document 1 Filed 03/25/24 Page 30 of 39




       Evolv’s “abilities” fundamentally rely on simplistic sensitivity tuning (their slider from
       A to now G) rather than actual intelligence. This is something IPVM was able to
       recreate by buying, testing, and tuning Evolv’s conventional competitors.

       (Emphasis added).

       94.     On this news, the price of Evolv stock fell $0.06, or 1.48%, to close at $3.99 on

October 25, 2023.

       95.     Then, on February 20, 2024, before the market opened, Evolv filed with the SEC

a current report on Form 8-K, attached to which was a press release entitled “Evolv Technology

Provides Regulatory Update.” It stated, in pertinent part, the following:

       [O]n Friday, February 16, 2024 the SEC notified the Company it was initiating an
       investigation that was described as a confidential “non-public, fact finding inquiry.”
       The Company notes the SEC’s explicit guidance that the investigation “should neither be
       construed as an indication by the Commission or its staff that any violation of law has
       occurred, nor as a reflection upon any person, entity, or security.” The Company is eager
       to cooperate with the SEC as it is with any regulatory body.

       (Emphasis added).

       96.     On this news, which upon information and belief is related to the Evolv’s

technology, the price of Evolv stock fell by $0.82 per share, or 15.67%, to close at $4.41 on

February 20, 2024.

       97.     Then, on March 13, 2024, the BBC released an article entitled “AI weapons

scanner backtracks on UK testing claims” (the “March 13 BBC Article”). The March 13 BBC

Article stated the following:

       Evolv Technology makes "intelligent" scanners designed to replace metal detectors by
       identifying people with concealed guns, knives and bombs.

       But the company has come under mounting criticism for overstating what the technology
       can deliver.

       Evolv told BBC News it had altered its claims about UK testing to "better reflect the
       process taken".



                                                30
 Case 1:24-cv-10761-ADB Document 1 Filed 03/25/24 Page 31 of 39




The Securities Exchange Commission (SEC) launched an investigation into the
company last month. And in October the company revealed the Federal Trade
Commission (FTC) was looking into its marketing practices.

                                     *        *      *

The company had said that its AI weapons scanner had been tested by the UK
Government's National Protective Security Authority (NPSA)[.]

On 20 February the company put out a press release, including a claim that the NPSA
was one of a number of testers who had "concluded that the Evolv Express solution
was highly effective at detecting firearms and many other types of weapons".

But BBC News can reveal the NPSA does not do this type of testing.

When BBC News put this to Evolv, the company said: "After discussion with NPSA, we
updated the language used in the February 20 press release to better reflect the process
taken."

Instead, it said: an independent company had "tested and validated" Evolv's technology,
using NPSA standards.

But the UK company that did this testing, Metrix NDT, told BBC News it was "not
correct to say we 'validated' the system".

                                  *        *    *
Metrix NDT managing director Nick Fox told BBC News that Evolv's system had
indeed been tested against NPSA specifications.

But when asked if Metrix NDT had found it "highly effective at detecting firearms
and many other types of weapons", he said: "It is not within our remit to pass any
value judgements on the results."

Evolv told the BBC that in addition to those results, Evolv makes available to any
serious prospective customer full third-party testing reports for detection performance.

Prof Marion Oswald, who was on the government's Centre of Data Ethics and
Innovation advisory board until last year, told BBC News it was worrying the
technology was replacing "tried and tested" security options.

"It does highlight the need for really close scrutiny and potential additional regulation of
companies making these types of claims," she told BBC News.

And she worried how customers might be influenced, "especially if claims are being
made about how certain government bodies may have been involved".



                                         31
         Case 1:24-cv-10761-ADB Document 1 Filed 03/25/24 Page 32 of 39




       Evolv has previously said its technology detects the "signatures" of concealed weapons.

       (Emphasis added).

       98.     On this news, the price of Evolv stock fell by $0.13 per share, or 3.51%, to close

at $3.57 on March 13, 2024.

       99.     As a result of Defendants’ wrongful acts and omissions, and the precipitous

decline in the market value of the Company’s common shares, Plaintiff and other Class

members have suffered significant losses and damages.

                       PLAINTIFF’S CLASS ACTION ALLEGATIONS

       100.    Plaintiff brings this action as a class action pursuant to Federal Rule of Civil

Procedure 23(a) and (b)(3) on behalf of a class consisting of all persons other than defendants

who acquired Evolv securities publicly traded on the NASDAQ during the Class Period, and

who were damaged thereby (the “Class”). Excluded from the Class are Defendants, the officers

and directors of Evolv, members of the Individual Defendants’ immediate families and their

legal representatives, heirs, successors or assigns and any entity in which Defendants have or

had a controlling interest.

       101.    The members of the Class are so numerous that joinder of all members is

impracticable. Throughout the Class Period, Evolv securities were actively traded on NASDAQ.

While the exact number of Class members is unknown to Plaintiff at this time and can be

ascertained only through appropriate discovery, Plaintiff believes that there are hundreds, if not

thousands of members in the proposed Class.

       102.    Plaintiff’s claims are typical of the claims of the members of the Class as all

members of the Class are similarly affected by defendants’ wrongful conduct in violation of

federal law that is complained of herein.



                                               32
           Case 1:24-cv-10761-ADB Document 1 Filed 03/25/24 Page 33 of 39




       103.    Plaintiff will fairly and adequately protect the interests of the members of the

Class and has retained counsel competent and experienced in class and securities litigation.

Plaintiff has no interests antagonistic to or in conflict with those of the Class.

       104.    Common questions of law and fact exist as to all members of the Class and

predominate over any questions solely affecting individual members of the Class. Among the

questions of law and fact common to the Class are:

       •       whether the Exchange Act was violated by Defendants’ acts as alleged herein;

       •       whether statements made by Defendants to the investing public during the Class

               Period misrepresented material facts about the business and financial condition

               of Evolv;

       •       whether Defendants’ public statements to the investing public during the Class

               Period omitted material facts necessary to make the statements made, in light of

               the circumstances under which they were made, not misleading;

       •       whether the Defendants caused Evolv to issue false and misleading filings during

               the Class Period;

       •       whether Defendants acted knowingly or recklessly in issuing false filings;

       •       whether the prices of Evolv securities during the Class Period were artificially

               inflated because of the Defendants’ conduct complained of herein; and

       •       whether the members of the Class have sustained damages and, if so, what is the

               proper measure of damages.

       105.    A class action is superior to all other available methods for the fair and efficient

adjudication of this controversy since joinder of all members is impracticable. Furthermore, as

the damages suffered by individual Class members may be relatively small, the expense and


                                                  33
            Case 1:24-cv-10761-ADB Document 1 Filed 03/25/24 Page 34 of 39




burden of individual litigation make it impossible for members of the Class to individually

redress the wrongs done to them. There will be no difficulty in the management of this action as

a class action.

        106.      Plaintiff will rely, in part, upon the presumption of reliance established by the

fraud-on-the-market doctrine in that:

        •         Evolv shares met the requirements for listing, and were listed and actively traded

                  on NASDAQ, an efficient market;

        •         As a public issuer, Evolv filed periodic public reports;

        •         Evolv regularly communicated with public investors via established market

                  communication mechanisms, including through the regular dissemination of

                  press releases via major newswire services and through other wide-ranging

                  public disclosures, such as communications with the financial press and other

                  similar reporting services;

        •         Evolv’s securities were liquid and traded with moderate to heavy volume during

                  the Class Period; and

        •         Evolv was followed by a number of securities analysts employed by major

                  brokerage firms who wrote reports that were widely distributed and publicly

                  available.

        107.      Based on the foregoing, the market for Evolv securities promptly digested

current information regarding Evolv from all publicly available sources and reflected such

information in the prices of the shares, and Plaintiff and the members of the Class are entitled to

a presumption of reliance upon the integrity of the market.




                                                   34
          Case 1:24-cv-10761-ADB Document 1 Filed 03/25/24 Page 35 of 39




         108.   Alternatively, Plaintiff and the members of the Class are entitled to the

presumption of reliance established by the Supreme Court in Affiliated Ute Citizens of the State

of Utah v. United States, 406 U.S. 128 (1972), as Defendants omitted material information in

their Class Period statements in violation of a duty to disclose such information as detailed

above.

                                           COUNT I
           For Violations of Section 10(b) And Rule 10b-5 Promulgated Thereunder
                                    Against All Defendants
         109.   Plaintiff repeats and realleges each and every allegation contained above as if
fully set forth herein.
         110.   This Count is asserted against Defendants is based upon Section 10(b) of the
Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5 promulgated thereunder by the SEC.
         111.    During the Class Period, Defendants, individually and in concert, directly or

indirectly, disseminated or approved the false statements specified above, which they knew or

deliberately disregarded were misleading in that they contained misrepresentations and failed to

disclose material facts necessary in order to make the statements made, in light of the

circumstances under which they were made, not misleading.

         112.   Defendants violated §10(b) of the 1934 Act and Rule 10b-5 in that they:

                •         employed devices, schemes and artifices to defraud;

                •         made untrue statements of material facts or omitted to state material facts

                          necessary in order to make the statements made, in light of the

                          circumstances under which they were made, not misleading; or

                •         engaged in acts, practices and a course of business that operated as a fraud

                          or deceit upon plaintiff and others similarly situated in connection with

                          their purchases of Evolv securities during the Class Period.


                                                  35
         Case 1:24-cv-10761-ADB Document 1 Filed 03/25/24 Page 36 of 39




       113.    Defendants acted with scienter in that they knew that the public documents and

statements issued or disseminated in the name of Evolv were materially false and misleading;

knew that such statements or documents would be issued or disseminated to the investing

public; and knowingly and substantially participated, or acquiesced in the issuance or

dissemination of such statements or documents as primary violations of the securities laws.

These defendants by virtue of their receipt of information reflecting the true facts of Evolv, their

control over, and/or receipt and/or modification of Evolv’s allegedly materially misleading

statements, and/or their associations with the Company which made them privy to confidential

proprietary information concerning Evolv, participated in the fraudulent scheme alleged herein.

       114.     Individual Defendants, who are the senior officers and/or directors of the

Company, had actual knowledge of the material omissions and/or the falsity of the material

statements set forth above, and intended to deceive Plaintiff and the other members of the Class,

or, in the alternative, acted with reckless disregard for the truth when they failed to ascertain and

disclose the true facts in the statements made by them or other Evolv personnel to members of

the investing public, including Plaintiff and the Class.

       115.    As a result of the foregoing, the market price of Evolv securities was artificially

inflated during the Class Period. In ignorance of the falsity of Defendants’ statements, Plaintiff

and the other members of the Class relied on the statements described above and/or the integrity

of the market price of Evolv securities during the Class Period in purchasing Evolv securities at

prices that were artificially inflated as a result of Defendants’ false and misleading statements.

       116.    Had Plaintiff and the other members of the Class been aware that the market

price of Evolv securities had been artificially and falsely inflated by Defendants’ misleading

statements and by the material adverse information which Defendants did not disclose, they



                                                 36
         Case 1:24-cv-10761-ADB Document 1 Filed 03/25/24 Page 37 of 39




would not have purchased Evolv securities at the artificially inflated prices that they did, or at

all.

       117.     As a result of the wrongful conduct alleged herein, Plaintiff and other members

of the Class have suffered damages in an amount to be established at trial.

       118.    By reason of the foregoing, Defendants have violated Section 10(b) of the 1934

Act and Rule 10b-5 promulgated thereunder and are liable to the plaintiff and the other members

of the Class for substantial damages which they suffered in connection with their purchase of

Evolv securities during the Class Period.

                                           COUNT II
                        Violations of Section 20(a) of the Exchange Act
                              Against the Individual Defendants
       119.    Plaintiff repeats and realleges each and every allegation contained in the

foregoing paragraphs as if fully set forth herein.

       120.    During the Class Period, the Individual Defendants participated in the operation

and management of Evolv, and conducted and participated, directly and indirectly, in the

conduct of Evolv’s business affairs. Because of their senior positions, they knew the adverse

non-public information about Evolv’s false financial statements.

       121.    As officers and/or directors of a publicly owned company, the Individual

Defendants had a duty to disseminate accurate and truthful information with respect to Evolv’s

financial condition and results of operations, and to correct promptly any public statements

issued by Evolv which had become materially false or misleading.

       122.     Because of their positions of control and authority as senior officers, the

Individual Defendants were able to, and did, control the contents of the various reports, press

releases and public filings which Evolv disseminated in the marketplace during the Class Period

concerning Evolv’s results of operations. Throughout the Class Period, the Individual

                                                 37
         Case 1:24-cv-10761-ADB Document 1 Filed 03/25/24 Page 38 of 39




Defendants exercised their power and authority to cause Evolv to engage in the wrongful acts

complained of herein. The Individual Defendants therefore, were “controlling persons” of Evolv

within the meaning of Section 20(a) of the Exchange Act. In this capacity, they participated in

the unlawful conduct alleged which artificially inflated the market price of Evolv securities.

        123.    By reason of the above conduct, the Individual Defendants are liable pursuant to

Section 20(a) of the Exchange Act for the violations committed by Evolv.

                                    PRAYER FOR RELIEF

        WHEREFORE, plaintiff, on behalf of himself and the Class, prays for judgment and
relief as follows:
        (a)     declaring this action to be a proper class action, designating plaintiff as Lead

Plaintiff and certifying plaintiff as a class representative under Rule 23 of the Federal Rules of

Civil Procedure and designating plaintiff’s counsel as Lead Counsel;

        (b)     awarding damages in favor of plaintiff and the other Class members against all

defendants, jointly and severally, together with interest thereon;

        awarding plaintiff and the Class reasonable costs and expenses incurred in this action,

including counsel fees and expert fees; and

        (d)     awarding plaintiff and other members of the Class such other and further relief as

the Court may deem just and proper.

                                  JURY TRIAL DEMANDED

        Plaintiff hereby demands a trial by jury.


Dated: March 25, 2024                                 THE ROSEN LAW FIRM, P.A.
                                                      /s/ Joshua Baker
                                                      Joshua Baker, Esq. (BBO # 695561)
                                                      Phillip Kim, Esq. (pro hac vice to be
                                                      submitted


                                                38
Case 1:24-cv-10761-ADB Document 1 Filed 03/25/24 Page 39 of 39




                                  Laurence M. Rosen, Esq. (pro hac vice to
                                  be submitted
                                  275 Madison Avenue, 40th Floor
                                  New York, NY 10016
                                  Telephone: (212) 686-1060
                                  Fax: (212) 202-3827
                                  Email: jbaker@rosenlegal.com
                                         pkim@rosenlegal.com
                                         lrosen@rosenlegal.com

                                  Counsel for Plaintiff




                             39
